                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS

Stephanie Lukis, Mantas Norvaisas and)
Shawn Brown individually and on behalf
                                     )     CIVIL ACTION NO: 19-cv-4871
of all others similarly situated,    )
                                     )     JUDGE FEINERMAN
             Plaintiffs,             )
v.                                   )     MAG. GILBERT
                                     )
Whitepages Incorporated,             )     CLASS ACTION COMPLAINT
                                     )     JURY TRIAL DEMANDED
             Defendant.              )
   __________________________________________________________________________

                FIRST AMENDED CLASS ACTION COMPLAINT
  __________________________________________________________________________

       Plaintiffs Stephanie Lukis, Mantas Norvaisas, and Shawn Brown bring this class action on

their own behalf and also on behalf of all others similarly situated (“class members”). Class

members had (and continue to have) their identities used by the Defendant in its advertisements

without class members’ written consent, in violation of Illinois law.

                                         THE PARTIES

       1.      Plaintiffs Stephanie Lukis, Mantas Norvaisas and Shawn Brown are residents of

Cook County, Illinois.

       2.      Defendant Whitepages Incorporated (“Whitepages” or “Defendant”) owns and

operates the website www.whitepages.com. Defendant is a Washington-based, for-profit

corporation organized under the laws of the State of Washington.

                                JURISDICTION AND VENUE

       3.      This Court has jurisdiction over this action under the Class Action Fairness Act

(“CAFA”) 28 U.S.C. § 1332(d).




                                                 1
       4.      Venue is proper in the Northern District of Illinois because Defendant is

committing the acts alleged herein in the Northern District and a substantial part of the acts and

omissions giving rise to the claims asserted herein have occurred in the Northern District.

                           COMMON FACTUAL ALLEGATIONS

       5.      Despite its name Defendant Whitepages is not affiliated with the once-popular print

telephone directory promulgated by AT&T.

       6.      Rather, Defendant owns and operates a website that sells “background reports” on

people to the general public.

       7.      Defendant sells its reports on its website: www.whitepages.com.

       8.      Upon accessing Whitepages’ website, the public-at-large is free to enter the first

and last name of a particular individual via a search bar on the homepage.

       9.      After entering this information, any public user of Whitepages’ website is provided

with a listing of search results. Each search result corresponds to an actual person that Whitepages

has located who matches the name provided by the public user.

       10.     These search results provide a limited, free preview of Defendant’s “background

reports.” As shown in the images below, this free preview includes the searched individual’s name

(including middle initials), age range, alleged phone number, current address, the “previous

locations” where the searched individual has lived, and other identifying information:




                                                 2
3
       11.      As shown in the images above, Whitepages’ free preview provides enough

information to identify an individual.

       12.      The purpose behind Whitepages’ free preview is singular: to entice users to

purchase Defendant’s services. These services include “background reports” and “histories”

relating to individuals on its database.

       13.      Whitepages’ uses these free previews to advertise its monthly subscription services

whereby a user can access and retrieve “background reports” and “histories” on any individual in

its database.

       14.      In order for a user to view a person’s “background report” or other background

“histories” generated by the Defendant, a user needs to purchase Defendant’s services. Clicking

any of the blue highlighted text in the above images (e.g. “view results” or “get their background




                                                 4
check” or “continue to results” or “view all relatives” or “criminal records”) leads users to a pay

screen which presents them with an option to pay for Whitepages’ monthly subscription services.

         15.    Whitepages monthly subscription ranges in cost from $4.99 to $19.99 per month to

access and search anyone on its database.

         16.    Whitepages monthly subscription allows users to obtain background reports using

Whitepages services on between 20 and 200 different individuals per month, depending on

subscription cost.

         17.    Whitepages compiles and generates the content it sells on its website. According

to Whitepages: “we work with over 100 different data providers worldwide and ingest over two

billion records a month into our internal database, enabling us to provide a robust search that we

have within our products.”1

         18.    Neither Plaintiffs nor class members provided Defendant with written consent to

use their identities in Defendant’s advertisements. As detailed above, Whitepages uses class

members’ identities to advertise its for-profit services. Thus, Defendant violates the Illinois Right

of Publicity Act (“IRPA”), 765 ILCS 1075/1, et seq.

         19.    It would be extremely easy for Whitepages to maintain their business model while

still complying with state law. For example, Whitepages could merely display the names of the

searched individuals—without more identifying information—in their advertisements for their

services.

         20.    Whitepages purposefully subjects itself to jurisdiction in this Court by knowingly

searching and obtaining private and public records and/or identifying information on Illinois

residents. Indeed, this lawsuit revolves around Whitepages business practice of acquiring



1
    https://www.whitepages.com/blog/whitepages-identity-graph/ (last accessed October 21, 2020)

                                                 5
identifying information about Illinois residents with the specific intent of selling that information

to its customers.

        21.     Additionally, Whitepages directly sells its services to consumers in Illinois.

                              THE PLAINTIFFS’ EXPERIENCES

        22.     In 2018 Plaintiff Lukis discovered that Whitepages uses her name, age, city of

domicile, and the identity of her relatives in advertisements on the Whitepages website to advertise

and/or actually sell Defendant’s products and services. These advertisements were the same or

substantially similar to those shown in Paragraph 10.

        23.     Plaintiff Lukis believes that it is reasonable for others to identify her because

Defendant’s advertisements include accurate details about her.

        24.     Indeed, Plaintiff Lukis can confirm that the individual Defendant identified in

paragraph 10 is in fact herself.

        25.     Plaintiff Lukis never provided Whitepages with written consent to use any attribute

of her identity in any advertisement or for any commercial purposes.

        26.     Plaintiff Lukis is not and has never been a Whitepages customer. She has no

relationship with Whitepages whatsoever.

        27.     Plaintiff Lukis’ discovery of Whitepages unauthorized use of her identity has

caused Plaintiff emotional distress.

        28.     Plaintiff Lukis has not been compensated by Whitepages in any way for its use of

her identity.

        29.     Plaintiff Lukis does not want Whitepages to use her identity for any commercial

advertising purpose.




                                                  6
        30.        Like Plaintiff Lukis, in 2020 Plaintiff Norvaisas discovered that Whitepages uses

his name, age, and the identity of his relatives in advertisements on the Whitepages website to

advertise and/or actually sell Defendant’s products and services. These advertisements are the

same or substantially similar to those shown in Paragraph 10.

        31.        Plaintiff Norvaisas believes that it is reasonable for others to identify him because

Defendant’s advertisements include accurate details about him.

        32.        Plaintiff Norvaisas never provided Whitepages with written consent to use any

attribute of his identity in any advertisement or for any commercial purposes.

        33.        Plaintiff Norvaisas is not and has never been a Whitepages customer. He has no

relationship with Whitepages whatsoever.

        34.        Plaintiff Norvaisas’s discovery of Whitepages’ unauthorized use of his identity has

caused Plaintiff emotional distress.

        35.        Plaintiff Norvaisas has not been compensated by Whitepages in any way for its use

of his identity.

        36.        Plaintiff Norvaisas does not want Whitepages to use his identity for any commercial

advertising purpose.

        37.        Plaintiff Brown also discovered in 2020 that Whitepages uses his name, age, city

of domicile, and the identity of his relatives in advertisements on the Whitepages website to

advertise and/or actually sell Defendant’s products and services. These advertisements are the

same or substantially similar to those shown in Paragraph 10.

        38.        Plaintiff Brown believes that it is reasonable for others to identify him because

Defendant’s advertisements include accurate details about him.




                                                     7
         39.    Plaintiff Brown never provided Whitepages with written consent to use any

attribute of his identity in any advertisement or for any commercial purposes.

         40.    Plaintiff Brown is not and has never been a Whitepages customer. He has no

relationship with Whitepages whatsoever.

         41.    Plaintiff Brown’s discovery of Whitepages’ unauthorized use of his identity has

caused Plaintiff emotional distress.

         42.    Plaintiff Brown has not been compensated by Whitepages in any way for its use of

his identity.

         43.    Plaintiff Brown does not want Whitepages to use his identity for any commercial

advertising purpose.

                               CLASS ACTION ALLEGATIONS

         44.    Plaintiffs bring this action on behalf of themselves and a class defined “all Illinois

residents who have appeared in an advertisement preview for a Whitepages’ report.”

         45.    Excluded from the class are: (1) any Judge or Magistrate presiding over this action

and members of their families; (2) Defendant, Defendant’s subsidiaries, parents, successors,

predecessors, and any entity in which the Defendant or its parents have a controlling interest and

its current or former employees, officers and directors; (3) persons who properly execute and file

a timely request for exclusion from the class; (4) persons whose claims in this matter have been

finally adjudicated on the merits or otherwise released; (5) Plaintiffs’ counsel and Defendant’s

counsel; and (6) the legal representatives, successors, and assigns of any such excluded persons.

         46.    The persons in the class are so numerous that joinder of all such persons is

impractical and the disposition of their claims in a class action is a benefit to the parties and to the

Court.




                                                   8
       47.     There are common questions of law and fact common to the claims of Plaintiffs

and the putative class, and those questions predominate over any questions that may affect

individual members of the class. Common questions for the class include, but are not necessarily

limited to the following:

               a. Whether Whitepages’ uses class members’ names and identities in

                   advertisements for its own commercial benefit;

               b. Whether the conduct described herein constitutes a violation of the Illinois

                   Right of Publicity Act 765 ILCS 1075/1, et seq.; and

               c. Whether Plaintiffs and the class are entitled to injunctive relief.

       48.     The claims of the named Plaintiffs are typical of the class. Plaintiffs will fairly and

adequately represent and protect the interests of the class, and have retained counsel competent

and experienced in complex class actions. Plaintiffs have no interests antagonistic to those of the

class, and Defendant has no defenses unique to Plaintiffs.

       49.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Judicial economy will be served by maintaining this lawsuit as a

class action because it avoids the burden which would otherwise be placed upon the judicial system

by the filing of numerous similar suits. A class action is also superior because the damages suffered

by individual class members are relatively small and because the burden upon such individual

litigants may make it difficult and impractical for them to pursue their claims against Defendant.

       50.     There are no obstacles to effective and efficient management of this lawsuit as a

class action by this Court.

       51.     References to the Plaintiffs shall be deemed to include the named Plaintiffs and

each member of the class, unless otherwise indicated.




                                                 9
                                     FIRST CAUSE OF ACTION

                Violation of the Illinois Right of Publicity Act 765 ILCS 1075/1, et seq.
                                 (On behalf of Plaintiffs and the class)
                                                (Damages)

          52.      Plaintiffs incorporate by reference the foregoing allegations as if set forth fully

herein.

          53.      The Illinois Right of Publicity Act prohibits using a person’s name, photograph,

image, or likeness for the purpose of advertising or promoting products, merchandise, goods, or

services without written consent. See 765 ILCS 1075/1, et seq.

          54.      Based upon Whitepages’ violation of the Illinois Right of Publicity Act, Plaintiffs

and class members are entitled to (1) an injunction requiring Whitepages’ to cease using Plaintiffs’

and members of the class’ names and any attributes of their identities to advertise its products and

services, (2) the greater of any award of actual damages (including profits derived from the

unauthorized use of Plaintiff’s and class members’ names and identities) or statutory damages of

$1,000 per violation to the members of the class, (3) an award of punitive damages, and (4) an

award of costs and reasonable attorneys’ fees under 765 ILCS 1075/40-55.

                                    SECOND CAUSE OF ACTION

                Violation of the Illinois Right of Publicity Act 765 ILCS 1075/1, et seq.
                                 (On behalf of Plaintiffs and the class)
                                            (Injunctive Relief)

          55.      Plaintiffs incorporate by reference each of the preceding allegations as though fully

set forth herein.

          56.      The Illinois Right of Publicity Act provides for injunctive relief. 765 ILCS §

1075/50.




                                                    10
       57.     Plaintiffs and class members are entitled to and seek an order enjoining further

violations of the Illinois Right of Publicity Act by Defendant.

       58.     Injunctive relief is necessary to afford Plaintiffs and class members the safety and

peace of mind envisioned by the passage of the Illinois Right of Publicity Act.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiffs respectfully requests that the Court enter an Order:

       1. Certifying the class as defined above under FRCP 23(b)(2) and (3), appointing
          Stephanie Lukis, Mantas Norvaisas, and Shawn Brown as class representatives and
          appointing their counsel as class counsel;

       2. Declaring that Whitepages’ actions described herein constitute a violation of the Illinois
          Right of Publicity Act;

       3. Awarding injunctive and other equitable relief as necessary to protect the interest of the
          class, including, inter alia, prohibiting Whitepages from engaging in the wrongful and
          unlawful acts described herein;

       4. Awarding the greater of actual damages, including the profits derived from the
          unauthorized use of same, or statutory damages in the amount of $1,000 per violation
          of the members of the class;

       5. Awarding punitive damages where applicable;

       6. Awarding Plaintiffs and the class their reasonable litigation expenses and attorney’s
          fees;

       7. Awarding Plaintiffs and the class pre- and post-judgment interest; and

       8. Granting such other and further relief as the Court deems equitable and just.

                                        JURY DEMAND

       Plaintiffs demand trial by jury on all issues for which a jury trial is allowed.




                                                 11
     Respectfully Submitted,

     /s/ William H. Beaumont
     ___________________________
     Roberto Luis Costales (#6329085)
     William H. Beaumont (#6323256)
     BEAUMONT COSTALES LLC
     107 W. Van Buren, Suite 209
     Chicago, IL 60605
     Telephone: (773) 831-8000
     rlc@beaumontcostales.com
     whb@beaumontcostales.com
     ATTORNEYS FOR PLAINTIFF




12
